Case 2:10-md-02179-CJB-DPC Document 11988-21 Filed 12/16/13 Page 1 of 2




                    EXHIBIT 20
      Case 2:10-md-02179-CJB-DPC Document 11988-21 Filed 12/16/13 Page 2 of 2




;Nuftwi;:p3:,.- .:., ,,
   ...          .,,..                    -      '"            i's   '     - .,:''.72512'1•;!'.fil     ./-T"7.'.9
                                                                                                        ,        •,:!C;;:..j2,';';'". i        - .:,.-1;f;        ":;:rirfgi:Prjii;:i;i=iii!l'i:;-"lik:z.EF;1 ::::!A:F:].:::•;:.! 1:i:i:.!::-:;:;
                                                                                                     w •                        r
             -             !   - ,                  :h.   . .. .    _      -     r:r! q.37:":;41..3.i.E.r:..;■
                                                                                                             :::5,..ifh'hg:::::33:1: 3 ...14::3..?!:':;!:?i' '::::::::::!::::1.::: .7           - :::; -_ f;:. r. : . .. ' . .
 The Deepwater Horizon Economic and Property Damage Settlement Agreement requires that the claimant sign the
 Registration Form and Claim Form. An attorney may sign online or on a hard copy for the claimant if the attorney or the
 attorney's firm has a power of attorney, retainer agreement or other document signed by the claimant authorizing the
 attorney or the firm to pursue on behalf of the claimant any claims arising out of the Deepwater Horizon Inddent. This
 Form is not required of all attorneys, but an attorney or firm that does not already have such a document may have the
 claimant sign this Power of Attorney Form to satisfy that requirement. An attorney may not sign this Form. While the
 Claimant must sign this Form, you may submit this in a PDF Image and do not have to submit the original hard copy. A
 form authorizing an attorney or firm to pursue claims with the GCCF is not sufficient.
il;!..:*:.;:.-4.1e.Filla5.: 1J:',!.-. .':.a',?-rfiti.::.;-
                                                         -t„,ys,„ 4..... -s            .rs:,.. .:::-...iiiiiiintr" riiii'''''. --. ;14t.'.5.,INIII"V..• .:—                                    .E       !    ' : - ;::-.'r .::::11:7.---:liPi,
                       L;i ii.. o.r. uii rianAC7ou'an'ass--                                                                              First                                                                                 Nara
   Name: .-7-741, xi                                                                                                                             rei-50,/

 Deepwater Horizon Settlement Program Claimant Number:                                                                                        I-1                 1         111                             1       11i
                                                                                                                       SSN or                    _
 Social Security Number:
        or         .                                                                                                                         q       1 -L_S_L2_I - I 9151,5 Igi
 Individual Taxpayer Identification Number:
        or                                                                                                            EIN
 Employer Identification Number:                                                                                                           I-1             I          I       I            I        I           I     I
                                      • Street                                                                            .
 Current Address.                      aty8g36
                                             ,                      M•teri-I— 3'71— .
                                                                                                                                                               IState          t jik.                                   Zip Code
                                              5 l,'do II                                                                                                                                                                  70 4167g
.Er q '   :::';:.".;'.1..i•.... ... ..... ri:, :                        ..:,....;:.:•...",4.,.:104,47,',.,,„-...,,.:I.J,007:::::g::5_;.:'±:;c3.!il,:, -                                •        .::‘:..'r•::!:i:...                .         r•••;.,
 Law Firm Name:                                                                                                    ANDRY LERNER, L.L.C.
                                             Last Narne                                                                  I First Name                                                                                      Failddle Inl
 Attorney Name:                                                                 ANDRY                                                 JONATHAN                                                                             1           B
                                             Street
                                                                                                                   610 BARONNE STREET
 Law Firm Address.                           airy                                                                                                               State                                                   Zip Code
                                                                                   NEW ORLEANS                        LA                                                                                                       70113
 Attorney Phone Number:                                                                  (5 10 14 ) 15 12 15 I — 15 15 13 15 I
 Attorney Email Address:                                                                                            LTATE@ANDRYLAWGROUP.COM
::.1:!si :■
          •::;kr.l:.;: 2-                  —
...,F.2:,1..:li,:::=:::r3:::,!:::!:5:1.i:i :111 :P. :',':i'' :-1)F60,;L-.i.'lr.:::iigN:—ZOi.10"1:0:40i'f'2411.11..:i1::lz1-1';'.:: !']: l                                                       :'r:: .:1:1!.1t1.:4rr..—.:: ::;f4i 'l
I certify to the Deepwater Horizon Economic and Property Damage Settlement Program that the attorneys) at the law
firm identified in Section B are authorized to pursue on my behalf any claims arising out of the Deepwater Horizon Incident
and to execute on my behalf any Registration Form and/or Claim Form that must be submitted on my behalf under penalty
of perjury in support of.a claim and I understand that the Claims Administrator will treat such signature as my signature. I
authorize the Claims Administrator to communicate directly with such attomey(s) and other representatives of the law firm
and understand that the Claims Administrator will not communicate with me in any manner without express written
permission from the atto       (s) at the law firm.
                                                                                                                                                                                                    & /                   1/ V •
 Signature:                                                                                                                                                               Date:                             (Ma rth/Daear)
                                                                                                                                                                                                                     y/Y
                                       ..a.-----/
                                            /1
                               La                                                                                                        First Name                                                                            Middle Initial
 Name:
                       .        -rifoluo                                                                                                             efil6V
 Title (If a Business):




 POA-1




                                                                                                                                                                                                                          AL1J - 001668
